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 1                                 UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3                                                     ***
 4      UNITED STATES OF AMERICA,                            Case No. 2:12-cr-00004-APG-GWF
 5                             Plaintiff,
                                                             ORDER SETTING DEADLINE FOR
 6            v.                                             GOVERNMENT TO RESPOND TO
                                                             MOTION TO VACATE, SET ASIDE,
 7      JERMAINE SMITH,                                      OR CORRECT CRIMINAL
                                                             CONVICTION AND SENTNCE
 8                             Defendant.                    PURSUANT TO 28 U.S.C. § 2255
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10            Defendant Jermaine Smith has filed a motion under 28 U.S.C. § 2255 seeking to set aside

11     his sentence and to calculate and impose a new sentence. ECF No. 1188. The United States shall

12     file a response to the motion, if it has any, no later than July 5, 2016. Defendant may file a reply

13     in support of the motion within 30 days after the Government files its response.

14            IT IS FURTHER ORDERED that defendant Jermaine Smith’s motion to supplement his

15     motion to vacate (ECF No. 1192) is GRANTED.

16            DATED this 3rd day of June, 2016.

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18                                                           ANDREW P. GORDON
                                                             UNITED STATES DISTRICT JUDGE
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